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4823-0412-4571/579-0163
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------X
PRECISION HEALTH, INC.,                              :
                                                         19 CV 03951 (NG)(VMS)
                                   Plaintiff,       :

                   – against –                      :    ANSWER AND COUNTERCLAIM

PHYSICIANS MOBILE X-RAY, INC.,                      :
                                                         Defendant demands a jury trial.
                                    Defendant.       :
-----------------------------------------------------X


         Defendant Physicians Mobile X-Ray, Inc. (Physicians Mobile) alleges as follows for its

answer to the complaint and its counterclaim:


                                    Answering “Nature Of The Action”

                   1. Physicians Mobile lacks knowledge or information sufficient to form a belief

as to the truth of paragraph 1 of the complaint.

                   2. Physicians Mobile admits paragraph 2 of the complaint.

                   3. Physicians Mobile denies paragraph 3 of the complaint.


                                             Answering “Parties”

                   4. Physicians Mobile admits paragraph 4 of the complaint.

                   5. Physicians Mobile admits paragraph 5 of the complaint.


                                   Answering “Jurisdiction And Venue”

                   6. Physicians Mobile denies paragraph 6 of the complaint.

                   7. Physicians Mobile denies paragraph 7 of the complaint.
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                                Answering “Factual Background”

               8. Physicians Mobile lacks knowledge or information sufficient to form a belief

as to the truth of paragraph 8 of the complaint.

               9. Physicians Mobile admits paragraph 9 of the complaint.

               10. Physicians Mobile lacks knowledge or information sufficient to form a belief

as to the truth of paragraph 10 of the complaint.

               11. Physicians Mobile admits paragraph 11 of the complaint.

               12. Physicians Mobile denies paragraph 12 of the complaint, and admits that the

parties entered into an agreement for Physicians Mobile to provide certain imaging services, for

which it has not been fully paid, as pleaded in the counterclaim herein.

               13. Physicians Mobile denies paragraph 13 of the complaint and admits that

plaintiff Precision Health, Inc. (Precision Health) is obligated under the terms of the agreement

of the parties to pay Physicians Mobile seventy percent of the amount billed by Physicians

Mobile, not seventy percent of the amount received by Precision Health from third persons, and

that the amount to be billed by Precision Health to third persons was to be at the maximum

reimbursable amount allowed for services of the kind Physicians Mobile supplied, using the

images provided by Physicians Mobile.

               14. Physicians Mobile denies paragraph 14 of the complaint and admits that the

parties negotiated the terms of their agreement by telephone and by other means of

communication and that a representative of Physicians Mobile met with a representative of

Precision Health in New York on one occasion.

               15. Physicians Mobile denies paragraph 15 of the complaint as to the terms of the

agreement of the parties, lacks knowledge or information sufficient to form a belief as to the

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truth of the allegation as to Precision Health’s collections, and admits that Precision Health has

paid Physicians Mobile approximately $116,000.

               16. Physicians Mobile denies paragraph 16 of the complaint.

               17. Physicians Mobile denies paragraph 17 of the complaint and admits that

Physicians Mobile billed Precision Health based on the Medicaid fee schedule.

               18. Physicians Mobile denies paragraph 18 of the complaint and admits that

Physicians Mobile terminated the agreement of the parties for Precision Health’s breach.

               19. Physicians Mobile admits paragraph 19 of the complaint.

               20. Physicians Mobile denies paragraph 20 of the complaint.


                              Answering The First Cause Of Action

               21. Physicians Mobile incorporates the other allegations of this answer by

reference in response to paragraph 21 of the complaint.

               22. Physicians Mobile denies paragraph 22 of the complaint to the extent it is

based on Precision Health’s description of the agreement of the parties, and admits that the

agreement of the parties was an enforceable agreement.

               23. Physicians Mobile admits paragraph 23 of the complaint.

               24. Physicians Mobile denies paragraph 24 of the complaint.


                                           First Defense

               25. The Court lacks jurisdiction over the person of Physicians Mobile.


                                        First Counterclaim

               26. In and about July 2017, Physicians Mobile and Precision Health entered into

an agreement whereby Physicians Mobile would perform mobile X-ray services for Precision

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Health in and around Washington County, Pennsylvania, at the Deer Meadows nursing home, the

Majestic Oaks nursing home, Maple Winds Care Center, Meadowview Rehab and Nursing

home, Premier Armstrong nursing home, Sunnyview Home, and Valley Manor nursing home

(the Nursing Homes).

               27. Under the terms of their agreement:

                  (a)         Physicians Mobile was to invoice Precision Health for its services at

                              the prices allowed by Medicare/Medicaid;

                  (b)         Precision Health, upon receiving Physicians Mobile’s invoices, was to

                              have submitted the invoices to the appropriate payor or payors,

                              including but not limited to Medicare and Medicaid; and

                  (c)         Precision Health was to pay Physicians Mobile seventy percent of the

                              amount invoiced by Physicians Mobile for its services.

               28. Physicians Mobile started to provide services under the agreement in August

2017, and commenced invoicing Precision Health for its services on a monthly basis.

               29. Precision Health failed to pay Physicians Mobile in accordance with the terms

of their agreement, and underpaid Physicians Mobile in the principal amount of $150,577.91,

thereby breaching the agreement of the parties.

               30. Physicians Mobile ceased providing services under the agreement in January

2019.

               31. Physicians Mobile has performed all conditions precedent to suit, or they have

been waived.

               32. Physicians Mobile is entitled to judgment against Precision Health for

$150,577.91, with interest.



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                                       Second Counterclaim

                33. Physicians Mobile incorporates the other allegations of this answer by

reference.

                34. Physicians Mobile performed the services described above in good faith.

                35. Precision Health accepted the services rendered by Precision Health.

                36. Physicians Mobile performed its services for the benefit of Precision Health

with the expectation compensation therefor.

                37. Precision Health owes Physicians Mobile the reasonable value of the services

rendered in the sum of $150,577.91, with interest.


                                        Third Counterclaim

                38. Physicians Mobile incorporates the other allegations of this answer by

reference.

                39. Precision Health has been enriched by the services performed by Physicians

Mobile.

                40. The services described above were rendered by Physicians Mobile at its own

expense.

                41. It is against equity and good conscience to permit Precision Health to retain

what is sought to be recovered described above in good faith.

                42. Precision Health owes Physicians Mobile the sum of $150,577.91, with

interest.




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                                        Fourth Counterclaim

                 43. Physicians Mobile incorporates the other allegations of this answer by

reference.

                 44. Physicians Mobile mailed and/or emailed invoices to Precision Health

monthly from August 2017 to January 2019, stating in detail the amounts Precision Health owed

to Physicians Mobile.

                 45. Precision Health made no objection to Physicians Mobile’s invoices within a

reasonable period of time.

                 46. Physicians Mobile has rendered an account to Precision Health for

$150,577.91, which sum Precision Health owes to Physicians Mobile, with interest.



       Wherefore, Physicians Mobile demands judgment dismissing the complaint, and granting

Physicians Mobile judgment against Precision Health for $150,577.91, with interest, costs, and

disbursements.


Dated; New York, NY                            LESTER SCHWAB KATZ & DWYER, LLP
       July 16, 2019                           100 Wall Street
                                               New York, NY 10005
                                               212 964-6611
                                               Attorneys for Defendant-Counterclaimant
                                               PHYSICIANS MOBILE X-RAY, INC.


                                                      Dennis M. Rothman
                                               ______________________________________
                                               Dennis M. Rothman




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                                      Certificate of Service

       I hereby certify that on July 16, 2019, the foregoing document was filed with the Clerk of

the Court and served in accordance with the Federal Rules of Civil Procedure, and/or the Eastern

District's Local Rules, and/or the Eastern District's Rules on Electronic Service upon the

following parties and participants:

       Matthew F. Didora, Esq.
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       516 328-2300
       Attorneys for Plaintiff

Counsel for plaintiff not yet having appeared in this action, the foregoing document was served

by email and by first class mail.

                                                    S/ Dennis M. Rothman
                                             _______________________________
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